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                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF LOUISIANA

BLAIR IMANI, ET AL                                                       CIVIL ACTION

VERSUS                                                                   NO.: 3:17-CV-439-JWD-EWD

CITY OF BATON ROUGE, ET AL

                              STATEMENT OF UNCONTESTED FACTS


         NOW INTO COURT through undersigned counsel come defendants, City of Baton

Rouge/Parish of East Baton Rouge, former Mayor-President Melvin Lee “Kip” Holden, and ex-

Baton Rouge City Police Chief, Carl Dabadie, Jr., in his individual capacity, Baton Rouge City

Chief of Police in his official capacity (previously Carl Dabadie, Jr., currently Murphy Paul),

former Interim Chief Jonny Dunnam, and BRPD officers Jonathon Abadie, William Alexander,

Alex Bell, Brandon Blust, Kenny Brewer, James Crockett, Myron Daniels, Jason Dohm, Taylor

Giroir, Kirk Grover (improperly named “Kirk Glover”), Alan Hamilton, Darren Hunt, Earnest

Jones, Earl Lapeyrouse, Alaina Mancuso, Richard McCloskey, Travis Norman, Jeff Pittman, Reab

Simoneaux, Jr., Christopher Bryan Taylor, James Thomas, Billy Walker, Mike Walker, David

Wallace, Randall Wiedeman, Derrick Williams, Willie Williams, Keith Wilson, and Curtis Wilson

(hereinafter referred to as “City/Parish Defendants”), who hereby submit the following Statement

of Uncontested Material Facts which show that all claims brought by Plaintiffs lack a factual basis

and that defendants are entitled to judgment in their favor as a matter of law:

                                                          1.

         Plaintiffs’ Third Amended Complaint, Record Doc. 189-1, at pages 72-83, alleges claims

against the defendants herein, 1 to wit:


1
  All claims are taken from the plaintiffs’. Claim fourteen, State Law Direct Action Claim, does not appear to apply
to the City/Parish, which is self-insured and has no policy of insurance susceptible of suit by way of La. R.S. 22:655.


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        a. Violation of First Amendment Rights to Speech and Assembly (All Plaintiffs against

             All Defendants 2)

        b. Violation of First Amendment Freedom of Press (Plaintiffs Karen Savage and Cherri

             Foytlin Against All Defendants)

        c. First Amendment Retaliation (All Plaintiffs against All Defendants)

        d. False Arrest and Imprisonment (All Plaintiffs against All Defendants)

        e. Violation of Fourth Amendment Rights to be Free from Unlawful Search and Seizure

             (All Plaintiffs against All Defendants)

        f. Excessive Force (All Plaintiffs against All Defendants)

        g. Failure to Intervene (All Plaintiffs Against All Defendants.)

        h. Civil Conspiracy to Violate Civil Rights (All Plaintiffs Against All Individual

             Defendants)

        i. Monell Claim (All Plaintiffs Against Policymaker Defendants)

        j. Violation of the Louisiana Constitution (All Plaintiffs Against All Defendants)

        k. Intentional and Negligence State Torts - Infliction of Emotional Distress, Negligent

             Infliction of Emotional Distress, Assault, Battery, False Imprisonment, Malicious

             Prosecution, and Negligence (All Plaintiffs Against All Defendants)

        l. Vicarious Liability (All Plaintiffs Against All Supervisor Defendants)

        m. Indemnity (All Plaintiffs Against All Agency Defendants)




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 Instances of “All Plaintiffs against All Defendants” stated herein does not include Plaintiff Tammy Cheney against
City of Baton Rouge defendants, as those claims have been dismissed. Ms. Cheney’s claims against all other
Defendants remain intact.


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                                                     2.

        On Sunday, July 10, 2016, there was a scheduled march and protest in downtown Baton

Rouge. There was no permit, but the organizers contacted the Baton Rouge Police Department,

which treated the event as though it had a permit, assisting with street closures and security. That

march went from Wesley United Methodist Church, 544 Government Street (between Napoleon

Street and St. Charles Street), to the State Capital, and returned to the church. (30(b)(6) Deposition

of J.D. Leach, Pg. 172:2-18; Exhibit SSSSS – operational orders, at 32-34, scheduled for 1600-

1900 hours.)

                                                     3.

        On return, many peaceful protesters got into their vehicles and departed the area.

(Deposition of J.D. Leach, Pg. 172:2-18; Deposition of David Wallace, Pg. 100:11-102:1)

However, a group split away from those protesters, and advanced east down Government Street.

(Deposition of David Wallace, Pg. 100:11-102:1; Plaintiff Karen Savage Response to Request for

Production 13, IMG_1462-1472, photographs showing protesters on Government Street being

redirected down East Blvd.)

                                                     4.

        A BRPD Officer stopped and spoke to those protesters, who declared that they were going

to enter and block Interstate I-110. (Deposition of David Wallace, Pg. 102:17-104:18; Deposition

Exhibit HHHHHH Juvenile Justice Information Exchange at 2:05)

                                                     5.

        Corporal Alaina Mancuso arrived later and spoke to a protester who confirmed her

intention to block the Interstate. 3 (Deposition of Alaina Mancuso Pg. 27:5-29:6; Pg. 30:3-31:13).



3




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                                                     6.

        BRPD undercover officers and intelligence assets in the crowd reported the same intention

to command staff. (Deposition of J.D. Leach, Pg. 171:2-22; 267:1-268:17)

                                                     7.

        The tactic of protesters taking over the interstate was well-known to BRPD and its officers.

In preceding protests, across the country, protesters shut down interstate highways, causing

massive disruption of services for ordinary citizens, vehicle accidents, and injuries. (Deposition of

J.D. Leach, Pg. 264:10-266:25; Exhibit AAAAAAAAAAAA - 50 arrested in Black lives Matter

protest in Baton Rouge [HD, 720p]; Exhibit EEEEEE -Hundreds arrested BLM MSNBC.)

                                                     8.

        The first officer took measures to delay the protesters and reported this exceptionally

dangerous activity to BRPD command staff, who mobilized various police assets to prevent this

activity. (Deposition of David Wallace, Pg. 123:2-10) BRPD command staff dispatched BRPD

Crime Scene officers to the location to document the actions of BRPD and try to identify agitators

and organizers of what appeared to be a violent protest, or maybe a riot. (Deposition of Keith

Wilson, Pg. 26:3-27:8)

                                                     9.

        The protesters were redirected off of Government Street, which they had been marching

down, and gathered in the intersection of East Boulevard and France Street, within a city block or

two of two separate entrances to I-110. (Exhibit LL – Larger map) BRPD had to block traffic in

order to keep the protesters from being hit by cars. (Deposition of Carl Dabadie, Pg. 61:21-62:10;

Deposition of Billy Walker, Pg. 73:21-74:20.)




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                                                     10.

        Elements from BRPD, the East Baton Rouge Parish Sherriff’s Office, Louisiana State

Police, and the Calcasieu Parish Sherriff’s Office responded. (Deposition of David Wallace, Pg.

87:1-18)

                                                     11.

        The crowd was estimated to be hundreds of protesters, which is reflected by still

photography and video taken by BRPD Crime Scene Officers. (Photos: ALK 1928, 1929, 1930;

MES 14, 15, 16, 17; MGK 16, 17,18. Video)

                                                     12.

        In contrast with the peaceful protesters who marched to the Capital, these protesters were

unruly and threw a variety of projectiles at or in the direction of the officers. Deposition of Myron

Daniels, Pg. 105:16-107:25, 175:24-178:19; Deposition of Thomas Morse, Pg, 51:17-53:3. Exhibit

DDDDD - From Finn - VID_20160710_193234661, 12 second video, bottle hurled at officers

00:10-00:12; Exhibit DDDDDDD - Blaze Opposite view of arrest (Antonio & Nadia), 1:28 video,

officers startled and taking cover from bottle thrown, 00:18-00:25)

                                                     13.

        Some of these protesters took active measures to block the roadway, and prevent the police

from entering the intersection of East Boulevard and France Street, where they had gathered. A

group of protesters formed a human chain across East Boulevard to interpose themselves and block

the law enforcement advance across France Street. (Exhibit GGGGGG - RT Ruptly - Up to 40

Black Lives Matter protesters arrested in Baton Rouge - Alexus, Karen, Blair, 2:43 video,




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protesters blocking advance, forming human chain at 00:15-01:02; see also Record Doc. 1 at

Paragraph 101.)

                                                     14.

        BRPD ordered the crowd to disperse on arrival, and those orders were ignored. Video:

KMW8273 07-10-16 (4), 00:43 video, time stamp 5:55 pm, dispersal order at 00:38-004.)

                                                     15.

        Protesters were detained from in front of the BRPD Bearcat, an unarmed but armored

vehicle. Ruptly video. BRPD engaged a Long Range Acoustical Device, borrowed from Louisiana

State Police, (Deposition of J.D. Leach, Pg. 132:18-133:9.) as part of their effort to disperse the

crowd, but it was ineffective and abandoned as a dispersal tool. (Deposition of Myron Daniels, Pg.

38:9-39:3; Deposition of J.D. Leach, Pg. 140:24-142:9; Deposition of Thomas Morse, Pg. 27:23-

29:4; 30:15-31:12, 40:21-41:18.)

                                                     16.

        Over the course of approximately ninety minutes, additional police elements arrived and

formed lines comprised of Mobile Field Force teams, SWAT, arrest teams, uniformed officers,

and Crime Scene officers, forming a three-sided box. Those lines were at the south end of East

Boulevard facing north, (Photo: ALK DSC_2069) the north end of East Boulevard facing south,

(Photo: MGK Protest 7-10-16 (169)) and one line on the east side of East Boulevard facing west.

(Exhibit DDDDD - From Finn - VID_20160710_193234661, 12 second video showing advance.)

Commands to disperse were given throughout this period, (Deposition of Myron Daniels, Pg. 90:9-

24, 10:10-24, 119:6-120:10; Deposition of Thomas Morse, Pg. 29:5-23, 32:20-22, 35:8-36:15,

41:23-42:3, 43:9-14) and some, but not all, of the protesters did depart the area and were not

arrested.




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                                                     17.

        Up until the final elements were in place, the police were outnumbered and vulnerable.

(Deposition of Thomas Morse, Pg. 42:4-20) Only after the long wait to mobilize and organize a

sufficient number of officers to safely effect arrests could BRPD attempt to disperse the crowd.

                                                     18.

        The police elements moved slowly, advancing on the yard of 602 East Boulevard and

France Street west of East Boulevard, where many protesters had gathered. (Exhibit DDDDDD -

2016.7.10 - Video by Kelly Orians www.facebook.com kelly.orians, 03:54 video, showing

multiple agencies converging on the yard of 602 East Boulevard.) Even as arrests were made in

the yard and street, many protesters fled and were not arrested. (Exhibit EEEEE - 5.Baton Rouge

Police attack peaceful protesters for Alton Sterling, 2:00 video, shot by protesters who departed

through the rear of the yard and were not arrested.)

                                                     19.

        Plaintiffs Blair Imani, Akeem Muhammad, Raae Pollard, Samantha Nichols, Victor

Onuoha, Alisha Feldman, Daniel Liebeskind, Finn Phoenix, and Leah Fishbein were arrested in

the yard of 602 France Street in the initial push into the yard. (Video DeSavlo East Blvd protests

7-10-16(4), 5:14 video.) Photographs and video show Blair Imani, Akeem Muhammad, Raae

Pollard, and Samantha Nichols at multiple locations throughout the protest, in the roadway and on

sidewalks at various points in time. (ALK photos 1919, 1928, 1931, 1933, 1936, 1948, 1959, 1999,

2031)

                                                     20.

        Plaintiff Cherri Foytlin was arrested on France Street at about the same time as the push

into the yard. (Video DeSavlo East Blvd protests 7-10-16(4), 5:14 video. At 01:32, plaintiff




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crowding BRPD officers on sidewalk of France Street.) Photographs and video show Cherri

Foytlin at multiple locations throughout the protest, in the roadway and on sidewalks at various

points in time. (Exhibit GGGGGG - RT Ruptly - Up to 40 Black Lives Matter protesters arre…xus,

Karen, Blair.mp4, 01:01-01:04, plaintiff crowding officers as they effect arrests. Photos ALK

1929, 1982, 1995, 2007, 2031)

                                                     21.

        Some protesters who appeared to be inciting the crowd or otherwise agitating the crowd

were arrested within a few blocks, and a few minutes after the push into the yard. (Exhibit EEEE

- KMW8273 07-10-16 (35), 1:12 second video, 01:00-01:12, LLLL - KMW8273 07-10-16 (42),

00:18 second video, showing Antonio Castanon Luna at East Blvd. and France Street, then at

Government and Maximillian Street.)

                                                     22.

        Plaintiff Alexus Cheney was arrested on Government Street. (Exhibit QQQQQQ – the

Rouge video of Tammy Cheney just before arrest, 01:24 video) She had been seen blocking the

roadway on East Boulevard and France Street, (Deposition of E.J. Lapeyrouse, Pg. 40:7-43:3, ALK

Photos 1943, 2009, 2017, 2046, 2058, 2063) and was coming back to her family’s vehicle, which

had a small child and a dog inside of it, with no supervision. (Deposition of E.J. Lapeyrouse, Pg.

43:4-46:5)

                                                     23.

        Plaintiff Karen Savage was arrested in the parking lot of the McDonald’s on Government

Street, roughly two blocks away from the intersection of East Boulevard and France Street.

(DeSavlo East Blvd protests 7-10-16 (8)) She had been given numerous commands to clear the

roadway and disperse from the area, which she ignored. (Deposition of James Thomas (June 11,




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2021) Pg. 78:21-79:7.) Photographs and video show Karen Savage at multiple locations

throughout the protest, in the roadway and on sidewalks at various points in time. (Photo ALK

1908, 1929, 1950, 1999, 2006, 2009, 2031, 2053, 2066)

                                                     24.

        Plaintiffs Antonio Castanon Luna and Nadia Salazar Sandi were arrested on the north side

of Government Street at Maximillian. (Exhibit DDDDDDD - Blaze Opposite view of arrest

(Antonio & Nadia), 1:28 video) They had been at the intersection of East Boulevard and France

Street, and appeared to be inciting the crowd. (Exhibit EEEE - KMW8273 07-10-16 (35), 1:12

second video, 01:00-01:12)

                                                     25.

        Arrest teams took detainees to a prisoner processing team set up on Government Street,

roughly between 10th Street and East Boulevard. (Deposition of Jonathan Abadie, Pg. 32:20-35:22,

55:1-7; Deposition of Willie Williams Pg. 75:5-78:15.)

                                                     26.

        The prisoner processing team used template affidavits of probable cause, some of which

listed an incorrect address, some of which were corrected by hand, and a third variant had blanks

for the officers to fill in with the location and offense. (Exhibits BBBBBBB - Antonio Castanon

Luna Affidavit of Probable Cause, C - R. Doc. 27-1 - Baton ROuge - Affidavits of Probable Cause,

TTTTTT - Alexus Cheney Affidavit of Probable Cause, TTTTT - Tammy Cheney Affidavit of

Probable Cause, UUUUU - Alisha Feldman - Reports and APC, VVVVVVV - Victor Onuoha –

APC, VVVVVVVV - Nadia Salazar - APC and Reports, )




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                                                     27.

        Some of the affidavits of probable cause were executed by officers who had observed the

offenses personally, (Deposition of Curtis Wilson, Pg. 35:17-36:11; 53:25-54:19.) others were

executed by officers without direct personal knowledge. (Deposition of Jonathan Abadie, Pg.

32:20-35:22, 55:1-7; Deposition of Willie Williams Pg. 75:5-78:15.) Officer James Thomas

explained his observations to a prisoner processing officer and directed him to sign the affidavit

of probable cause on his behalf, leading to an affidavit of probable cause with the arresting officer

listed simply as “Thomas.” (Deposition of James Thomas (June 11, 2021) 80:7-82:2, 95:4-97:3.)

Finally, some officers whose signature appears to be on some affidavits of probable cause state

that they did not sign those affidavits, and the actual person who signed those affidavits is

unknown. (Deposition of Billy Walker Pg. 46:15-48:9; Deposition of Joe (Reab) Simoneaux, Pg.

39:13-42:5; 43:20-45:6..)

                                                     28.

        The protesters were charged with various charges, including simple obstruction of a

highway, La. R.S. 14:97, simple obstruction of public passages, La. R.S. 14:100.1, and resisting

arrest. The district attorney subsequently declined to prosecute the plaintiffs. (Travis Day v. City

of Baton Rouge, et al. 17-CV-328-JWD-EWD, ECF Doc. 145, at Pg. 46.)

                                                     29.

        No municipal liability claim under § 1983 exists because the plaintiffs fail to establish that

there was a (1) official policy or custom of the defendants in effect which caused the alleged

deprivation of a constitutional right; (2) policymaker who can be charged with actual or

constructive knowledge or; (3) an act of deliberate indifference on the part of the defendants.




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                                                     30.

        BRPD trains all officers who go through its Basic Academy in accordance with Louisiana

Peace Officer Standard and Training (POST) standards which includes First and Fourth

Amendment Rights, State Laws including LSA-R.S. 14:97, arrest procedures, and use of force.

(Affidavit of Thomas Morse, Travis Day v. City of Baton Rouge, et al. 17-CV-328-JWD-EWD,

ECF Doc. 109-10.)

                                                     31.

        BRPD officers must also complete forty (40) hours of yearly inservice training, which

includes ten (10) hours in Defensive Tactics with Use of Force/Deescalation training and ten (10)

hours of Taser training that includes with current legal updates. (Affidavit of Thomas Morse,

Travis Day v. City of Baton Rouge, et al. 17-CV-328-JWD-EWD, ECF Doc. 109-10.)

                                                     32.

        BRPD had no agreement in place to suppress the Constitutional rights of the plaintiffs or

any class of citizens. (Affidavit of J.D. Leach, Travis Day v. City of Baton Rouge, et al. 17-CV-

328-JWD-EWD, ECF Doc. 109-15.)

                                                           By Attorneys:
                                                           Anderson O. Dotson
                                                           Parish Attorney

                                                           /s/ Joseph K. Scott, III
                                                           Joseph K. Scott, III (#28223)
                                                           Deelee S. Morris (Bar Roll #28775)
                                                           A. Gregory Rome (#21062)
                                                           222 St. Louis Street, 9th Floor
                                                           Baton Rouge, LA 70802
                                                           Telephone: (225) 389-3114
                                                           Facsimile: (225) 389-8736
                                                           Email: jkscott@brla.gov
                                                           Email: dsmorris@brla.gov
                                                           Email: grome@brla.gov




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                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF LOUISIANA

BLAIR IMANI, ET AL                                                    CIVIL ACTION

VERSUS                                                                NO.: 3:17-CV-439-JWD-EWD

CITY OF BATON ROUGE, ET AL



                                    CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Statement of Uncontested Facts was this date

electronically filed with the Clerk of Court using the Court’s CM/ECF system. Notice of this

filing will be sent to all counsel of record by operation of the Court’s electronic filing system.

Notice will be mailed to any party or counsel not participating in the Court’s CM/ECF system by

this date depositing same in the United States Mail, first class postage prepaid, and properly

addressed.

        Baton Rouge, Louisiana this 27th day of September, 2021.



                                                           /s/ Joseph K. Scott, III
                                                           JOSEPH K. SCOTT, III




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